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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


                                             *
UNITED STATES OF AMERICA
     Plaintiff,
v                                            *           CRIMINAL NO. : 16-226

RICHARD SNELLGROVE, M.D.
     Defendant.                              *

        MOTION TO EXCLUDE TESTIMONY OF RAHUL VORHA, M.D.

       COMES NOW the Defendant, Richard Snellgrove, M.D., by and through his
attorneys, Dennis J. Knizley and Arthur T. Powell, III and respectfully moves this
Honorable Court to exclude the testimony of Dr. Rahul Vohra and as grounds therefore
states as follows:
       1. The defendant would respectfully show this Honorable Court that the
testimony of the government’s purported expert, Dr. Vohra, should be excluded from
evidence at the trial of this case because his testimony does not comply with the
requirements for admission of expert testimony as set forth in Federal Rule of Evidence
702, Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and other
applicable case law.
       2. The issues in this case, and the issues about which Dr. Vohra would be
expected to testify relate generally to whether or not certain controlled substance
prescriptions for Matthew Roberts and others were outside the usual course of
professional medical practice and not for a legitimate medical purpose. Dr. Vohra’s
report, copy of which is attached hereto as Exhibit A and his Curriculum Vitae, attached
hereto as Exhibit B, demonstrate that Dr. Vohra is not qualified to render the opinions he
intends to testify about at trial. Even if Dr. Vohra were qualified to render those
opinions, the opinions do not satisfy the other requirements for admissibility of expert
testimony.
       3. Dr. Vohra holds board certifications in physical medicine and rehabilitation
and pain medicine. His present occupation is a pain management physician at New
South Neurospine where he has practiced since 2008. Conversely, Dr. Snellgrove is an
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internist practicing primary care medicine in Fairhope, Alabama. By training, education
and experience Dr. Vohra is not adequately qualified to assess a primary care physician’s
prescribing practices or his care of a specific patient. Dr. Vohra’s report is somewhat
void of adequate descriptions of the methodology which he utilized in reaching his
opinions, and is quite generalized as to what specific information, data, and
documentation upon which he relied to reach his conclusions. The opinions and
conclusions reached by Dr. Vohra fail to meet the requirements of Federal Rule of
Evidence 702 in that the opinions are based upon insufficient facts and/or data, the
opinions are not the product of demonstrated reliable principles and methods, and Dr.
Vohra’s report fails to demonstrate that he has applied any principles or methods reliably
to the facts of this case.
        4. Specifically, Dr. Vohra states in his report “there is minimal evidence” in
Matthew Roberts medical file of comprehensive physical examinations. However, he
fails to define or clearly indicate what “minimal” is in this context. He further says there
is ‘limited documentation of any functional benefit” of the prescriptions by Dr.
Snellgrove to Roberts, again not providing any factual basis for what is meant by
“limited documentation”. Further, Dr. Vohra says there is “little evidence of ongoing
physical examination evaluations” with no specificity of what the term “little” is
supposed to indicate. Throughout his report he uses the terms such as “unclear diagnosis”
and “lack of documentation” and the like without specifying any reliable factual basis for
those opinions.
        WHEREFORE, premises considered, the Defendant respectfully moves this
Honorable Court to exclude the testimony of Dr. Vohra because he is not qualified to
render the opinions he intends to testify about. In the alternative, if the Court determines
that he is qualified to render those opinions then those opinions should be excluded for
the foregoing reasons. Dr. Snellgrove also requests such other relief to which he may
show itself entitled.


                                                      Respectfully submitted,
                                                      /s/ Dennis J. Knizley
                                                      Dennis J. Knizley
                                                      Attorney for the Defendant
                                                      7 N. Lawrence Street
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                                                     /s/. Arthur T. Powell, III
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                            CERTIFICATE OF SERVICE

        I hereby certify that I have on this 6th day of February 2018, served a true and
correct copy of the foregoing pleading by electronically filing same with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to Assistant
U.S. Attorney Deborah A. Griffin.




                                                     /s/ Dennis J. Knizley

                                                     /s/ Arthur T. Powell, III
